                                     Case 21-17336-MAM                               Doc 44              Filed 09/22/21                    Page 1 of 33


 Fill in this information to identify your case:

                     Anisa Nazarova
 Debtor1
                    First Name                       Middle Name                      Last N-1mc

 Debtor2
 (Spouse, if filing) Fie;t Name                      MiddleName                       Last Name


 UnitedStatesBankruptcyCourtfor the: Southern District of Florida

 Casenumber             21-17336-MAM
                    Of known)
                                                                                                                                                                              D Check   if this is an
                                                                                                                                                                                  amended filing




Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical                                                                                             Information                         1211s

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summaryand check the box at the top of this page.


■if     I      Summarize          Your Assets


                                                                                                                                                                           Your assets
                                                                                                                                                                           Value of what you own
1. Schedule AIB: Property (Official Form 106A/B)
    1a.Copy line 55, Total real estate, from Schedule AIB ... ...............................................................................................    ..
                                                                                                                                                                               $0.00


    1b. Copy line 62, Total personal property, from Schedule A/8 ...........................................................................................          ..       s 1,323,526.85

    1c. Copy line 63, Total of all property on Schedule AIB ......................................................................................................         I._
                                                                                                                                                                             __ $_1_,3_2_3_,_s_2_6_.8_


■ijfj          Summarize          Your Liabilities


                                                                                                                                                                            Your liabilities
                                                                                                                                                                            Amount you owe
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D .......... ..                                           s583,017.54

3. Schedule EIF: Creditors Who Have Unsecured Claims (Official Form 106E/F)
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule EIF ........................... ..
                                                                                                                                                                               so.oo
    3b. Copy the total claims from Part 2 {nonpriority unsecured claims) from line 6j of Schedule EIF...................................... .
                                                                                                                                                                            + s524.75

                                                                                                                                        Your total liabilities                 $583,542.29


■ifi           Summarize          Your Income and Expenses


4. Schedule I: Your Income {Official Form 1061)
    Copy your combined monthly income from line 12 of Schedule I ......................................................................................                .       $7,656.21

s. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22c of Schedule J ................................................................................................            .       $6,143.84




Official Form 106Sum                                 Summary of Your Assets and Liabilities and Certain Statistical Information                                                      page 1 of 2
                                 Case 21-17336-MAM                    Doc 44       Filed 09/22/21          Page 2 of 33
                Anisa Nazarova                                                                                       21-17336-MAM
Debtor1                                                                                          Casenumber(ii known)
                                                                                                                  _____________                        _
               First Namo       Middlo N:imo         last Namo




             Answer         These Questions      for Administrative    and Statistical     Records

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

     El No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
     D Yes

7. What kind of debt do you have?

     D Your debts     are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal,
         family, or household purpose." 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

     □ Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
         this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
   Form 122A-1 line 11; OR, Form 122B Line 11; OR, Form 122C-1 line 14.                                                             $ _____        _




9.   Copy the following special categories of claims from Part 4, line 6 of Schedule E!F:


                                                                                                       Total claim


      From Part 4 on ScheduleE!F, copy the following:


     9a. Domestic support obligations (Copy line 6a.)                                                  $_______                 _


     9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                         $______              _


     9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)               $_______                 _


     9d. Student loans. (Copy line 6f.)                                                                $_______                 _


     9e. Obligations arising out of a separation agreement or divorce that you did not report as       $_______                 _
         priority claims. (Copy line 69.)

     9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)          +$ _______                 _




     9g. Total. Add lines 9a through 9f.                                                               $_______                 _




     Official Form 106Sum                      Summary of Your Assets and Liabilities and Certain Statistical Information                page 2 of 2
                                       Case 21-17336-MAM                            Doc 44         Filed 09/22/21       Page 3 of 33


Fill in this information to identify your case and this filing:

                 Anisa Nazarova
Debtor 1
                 First Name             M1dd!eName           Lnst Name

Debtor 2
(Spouse,if filing)   F,.s, Name           Middle Name             Last Name


United States Bankruptcy Court for the: Southern District of
Florida
                                                                                                                                                       0   Check if this is
Case number 21_17336 _MAM                                                                                                                                  an amended
(if know)
                                                                                                                                                           filing


Official Form 106A/B
Schedule A/B: Property                                                                                                                                             12/15


In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. on the top of any additional pages,
write your name and case number {if known}. Answer every question.


             Describe         Each Residence            Buildin     , Land or Other Real Estate You Own or Have an Interest                   In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
    0   No. Go to Part 2
    0   Yes. Where is the property?


                                                                      What is the property? Check all that apply         Do not deductsecured claimsor exemptions.Put the
    1.1 d.10.kv.12 Matrosova Street                                   0 Single-family home
        Streetaddress,if available,or otherdescription                                                                   amountof any securedclaimson Schedule D:
                                                                      0 Duplex or multi-unit building                    Creditors Who Have Claims Secured by Property:
         Barda, Perm area
                                                                      0    Condominium or cooperative                    Current value of the      current value of the
                              618150
                                                                      0    Manufactured or mobile home                   entire property?          portion you own?
                                                                      0    Land                                          $   Unknown               $ 0.00
         City        State ZIPCode                                    0    Investment property
                                                                                                                         Describe the nature of your ownership
                                                                      0    Timeshare                                     interest (such as fee simple, tenancy by the
                                                                      0    Other______                _                  entireties, or a life estate}, if known.
                                                                      Who has an interest in the property? Check         Life estate
                                                                      one
                                                                      0 Debtor 1 only                                    0   Check if this is community property
                                                                      0 Debtor 2 only
                                                                      0 Debtor 1 and Debtor 2 only
                                                                      O At least one of the debtors and another
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:

                                                                      What is the property? Check all that apply
                                                                                                                         Do not deduct securedclaims or exemptions.Put the
    1 .2 2251 Buck Ridge Trail                                        0 Single-family home                               amountof any securedclaimson Schedule D:
         Streetaddress,if available,or otherdescription
                                                                      0 Duplex or multi-unit building                    creditors Who Have Claims Secured by Property:

                                                                      0 Condominium or cooperative                       Current value of the      Current value of the
          Loxahatchee FL           33470
                                                                      0 Manufactured or mobile home                      entire property?          portion you own?
                                                                      0 Land                                             $ 1,000,000.00            $   0.00
          City                State ZIPCode
                                                                      0 Investment property                              Describe the nature of your ownership
                                                                      O Timeshare                                        interest (such as fee simple, tenancy by the
          Palm Beach County                                           0 Otherfamily Farm                                 entireties, or a life estate}, if known.

          Country                                                      Who has an interest in the property? Check        Equitable interest
                                                                       one
                                                                       O Debtor 1 only                                   O Check if this is community property
                                                                       O Debtor 2 only
                                                                       0 Debtor 1 and Debtor 2 only
                                                                       0      At least one of the debtors and another

                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:

                                                                                                                                                                   page 1 of 7
                                       Case 21-17336-MAM                                  Doc 44               Filed 09/22/21                      Page 4 of 33
                   Anisa Nazarova                                                                                                                        Case number(if known)           21-17336-MAM
Debtor 1          F:rst Name                          LastName



                                                                              This property is owned by Land Trust 072003, Your Florida Realty Services, LLC,
                                                                              trustee, with the Debtor holding a 50% beneficial interest.

                                                                              What is the property? Check all that apply
     1.3 14701 NW 83rd Place                                                                                                                            Do not deductsecured claims or exemptions.Put the
         Streetaddress.if available.or otherdescription
                                                                             O Single-family home                                                       amountof any secured claims on Schedule D:
                                                                             0    Duplex or multi-unit building                                         Creditors Who Have Claims Secured by Property:

                                                                             0    Condominium or cooperative                                            Current value of the              Current value of the
            Morriston FL          32668
                                                                             0    Manufactured or mobile home                                           entire property?                  portion you own?
                                                                             0    Land                                                                  $   100,000.00                    $   0.00
           City            State ZIP Code
                                                                              0 Investment property                                                     Describe the nature of your ownership
                                                                              O Timeshare                                                               interest (such as fee simple, tenancy by the
            Marion County                                                     0   Other______                       _                                   entireties, or a life estate), if known.

           Country                                                            Who has an interest in the property? Check                                Equitable interest
                                                                              one
                                                                              0   Debtor 1 only                                                         0    Check if this is community property
                                                                              0   Debtor 2 only
                                                                              O Debtor 1 and Debtor 2 only
                                                                              0   At least one of the debtors and another

                                                                              Other information you wish to add about this item, such as local
                                                                              property identification number:
                                                                              4. 72 acres (part of 11 acre farm) This property is owned by Land Trust 0406, Lilia
                                                                              Belkova. trustee, with the Debtor holding a 50% beneficial interest.



                                                                                                                                                                                                         EJ
  2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
                                                                                                                                                                                       ►
      you have attached for Part 1. Write that number here ...........................................................................................................................................


■4iflfj        Describe Your Vehicles

 Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
 you own that someone else drives. If you lease a vehicle. also report it on Schedule G: Executory Contracts and Unexpired Leases.

   3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
      0No
       □ Yes
   4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
      Examples:Boats. trailers, motors. personal watercraft, fishing vessels. snowmobiles, motorcycle accessories
      0No
       OYes




                                                                                                                                                                                                         EJ
      Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
                                                                                                                                                                                    ►
  5. you have attached for Part 2. Write that number here ...........................................................................................................................................


               Describe Your Personal and Household                                 Items

 Do you own or have any legal or equitable interest in any of the following?                                                                                                             Current value of the
                                                                                                                                                                                         portion you own?
   6. Household goods and furnishings                                                                                                                                                     Do not deduct secured
                                                                                                                                                                                          claims or exemptions.
         Examples:Major appliances. furniture. linens. china, kitchenware
         QNo
         0    Yes. Describe ...

           Washing machine. dryer. refrigerator. stove. eating utensils. plates, drinking glasses. couch. end table, bookshelf. window
                                                                                                                                                                                           $ 2QMQ_
           treatments, kitchen table. chairs (3), bed (single), wardrobe.
   7. Electronics
           Examples: Televisions and radios; audio. video. stereo. and digital equipment; computers, printers. scanners; music
                          collections; electronic devices including cell phones. cameras, media players, games

         QNo
         0    Yes. Describe ...

           TV (Box-style. about 20"); cellular telephone (iPhone 6)                                                                                                                        $!l.Q..Q.Q_




                                                                                                                                                                                                         page 2 of 7
                                           Case 21-17336-MAM                                           Doc 44                   Filed 09/22/21                      Page 5 of 33
               Anisa Nazarova                                                                                                                                          Case number(ifknown)             21-17336-MAM
Debtor 1      First Name               Mtdd!c Name         Lasl Name




  8. Collectibles of value
        Examples: Antiques and figurines: paintings, prints, or other artwork; books, pictures, or other art objects;
                  stamp, coin, or baseball card collections; other collections, memorabilia, collectibles

       QNo       .
       0 Yes. Describe ...

       IFamily photos                                                                                                                                                                                   $.5...QQ_

  9. Equipment for sports and hobbies
        Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
                  and kayaks; carpentry tools; musical instruments

       0No
       0  Yes. Describe ...
  10. Firearms
       Examples: Pistols, rifles, shotguns, ammunition, and related equipment
       0No
       0    Yes. Describe ...
  11. Clothes
       Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
       QNo
       0 Yes. Describe ...

       IN□ value     but to Debtor

   12. Jewelry
        Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems
                  gold, silver

       0No
       0  Yes. Describe ...
   13. Non-farm animals
        Examples: Dogs, cats, birds, horses

       0No
       O Yes. Describe ...
   14. Any other personal and household items you did not already list, including any health aids you did not list
       0No
       0  Yes. Give specific information ...

 15. Add the dollar value of the portionyou own for all of your entriesfrom Part 3, includingany entriesfor pages
      you have attachedfor Part 3. Write that number here...........................................................................................................................................
                                                                                                                                                                          ►




■ $II         Describe Your Financial Assets

 Do you own or have any legal or equitable interest in any of the following?                                                                                                                            Current value of the
                                                                                                                                                                                                        portion you own?
                                                                                                                                                                                                        Do not deduct secured
                                                                                                                                                                                                        claims or exemptions.
   16. Cash
        Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

       QNo
       0Yes      ............................................................. ,.............................................................................. ..    Cash ...........................    $ 6 242.00

   17. Deposits of money
        Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses
                  and other similar institutions. If you have multiple accounts with the same institution, list each.

       QNo
       0Yes      ................ ..                                Institution name:
        17.1. Checking account:                                     Sber Bank (Russia} Checking Account                                                                                                  $~




                                                                                                                                                                                                                      page 3 of 7
                                          Case 21-17336-MAM              Doc 44      Filed 09/22/21              Page 6 of 33
                Anisa Nazarova
Debtor 1      First Namo            Middle Namo   Last N:tmc
                                                                                                                     Case number(if known)   21-17336-MAM


   18. Bonds, mutual funds, or publicly traded stocks
       Examples: Bond funds, investment accounts with brokerage firms, money market accounts

       @No
       QYes ..................
   19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
       an LLC, partnership, and joint venture
       QNo
       0 Yes. Give specific information about them .....
       Name of entity:                                                                                             % of ownership:

       LoxahatcheeHorse Farm                                                                                      =50~___      %             $ Unknown

   20. Government and corporate bonds and other negotiable and non-negotiable instruments
       Negotiable instruments include personal checks, cashiers· checks, promissory notes, and money orders.
       Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
       0No
       0  Yes. Give specific information about them ......... .
   21. Retirement or pension accounts
       Examples: Interests in IRA, ERISA, Keogh, 40l{k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

       0No
       0  Yes. List each account separately
   22. Security deposits and prepayments
       Your share of all unused deposits you have made so that you may continue service or use from a company
       Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
                 companies, or others

       0No
       QYes .................... .
   23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
       0No
       0Yes     ..................... .
   24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition
       program.
       26 U.S.C. §§ 530(b)(l), 529A(b), and 529(b)(l).
       0No
       0Yes     ..................... .
   25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
       exercisable for your benefit
       0   No
       O Yes.      Give specific information            about them ...
   26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
       Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

       0No
       0 Yes. Give specific information about them ...
   27. Licenses, franchises, and other general intangibles
       Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

       0No
       0  Yes. Give specific information about them ...

 Money or property owed to you?                                                                                                              Current value of the
                                                                                                                                             portion you own?
                                                                                                                                             Do not deduct secured
                                                                                                                                             claims or exemptions.
   28. Tax refunds owed to you

       0   No
       0   Yes. Give specific information about them, including whether you already filed the returns and the tax years ...

                                                                                                                  Federal:                   $Q,QQ__
                                                                                                                  State:                     $ Q,QQ__
                                                                                                                  Local:                     $ Q,QQ__




                                                                                                                                                          page 4 of 7
                                        Case 21-17336-MAM                                 Doc 44               Filed 09/22/21                     Page 7 of 33
                 Anisa Nazarova                                                                                                                         Case number(if known)          21-17336-MAM
Debtor 1        F1rstNamr.-        Middle Name        lilSl Name




   29, Family support
         Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

         0 No
         O Yes. Give specific information ....
   30. Other amounts someone owes you
         Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers' compensation,
                   Social Security benefits; unpaid loans you made to someone else

         0No
         0 Yes. Give specific information ....
  31. Interests in insurance policies
         0 No
         O Yes. Name the insurance company of each policy and list its value ....
  32. Any interest in property that is due you from someone who has died
         0No
         0  Yes. Give specific information ....
   33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
         0No
         O Yes. Give specific information ....
   34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set
         off claims
         QNo
         0 Yes. Give specific information ....

         Claims against PNC Bank, N.A. for various claims (offset, credit for payments made during successful Chapter 12 case, and
         other various damages, Claim against Mark Roher pre-petition and post-petition retainers paid and legal malpractice, Claims
         against Fidelity National Title Group related to overpayment of mortgage claims, Claims against Deer Run PoA related to                                                         $ 15,000.00
         alleged stay and injunction violations, Claim against Joel Aresty for return of retainer related to Rule 60 Motion to be filed (was
         not filed)
   35. Any financial assets you did not already list
         QNo
         0 Yes. Give specific information ...

         !Judgment Case No.: 38·2OO3-CA·OOO787                                                                                                                                           $   32.037,85
 36. Add the dollar value of the portion you own for all of your entries from Part 4. including any entries for pages
                                                                                                                                                                                     ►
     you have attached for Part 4. Write that number here ...........................................................................................................................................


               Describe Any Business-Related                           Property You Own or Have an Interest                              In. List any real estate in Part 1.

   37. Do you own or have any legal or equitable interest in any business-related property?
         0    No. Go to Part 6.
         0    Yes. Go to line 38.
                                                                                                                                                                                       Current value of the
                                                                                                                                                                                       portion you own?
                                                                                                                                                                                       Do not deduct secured
                                                                                                                                                                                       claims or exemptions.
   38. Accounts receivable or commissions you already earned
         0No
         0  Yes. Describe ...
   39. Office equipment, furnishings, and supplies
         Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic
                   devices

         QNo
         0 Yes. Describe ...

         Computers (2 - 4yo and 7+yo); printers (3 • lyo, lyo and 4yo), dining table (used as desk), secretarial chairs (4), various
                                                                                                                                                                                         $ l.OOQ.OQ
         tables, children's desks, folding table; massage tables (used as folding table), couch, paper, toner, general office supplies.
   40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade
         0No
         0 Yes. Describe ...

                                                                                                                                                                                                        page 5 of 7
                                         Case 21-17336-MAM                               Doc 44              Filed 09/22/21                     Page 8 of 33
Debtor 1          Anisa Nazarova                                                                                                                      Case number(if known)         21-17336-MAM
                 FL-st Name       Mitldrc Nc1mc     Last Name




  41. Inventory
        0No
        O Yes. Describe ...
  42. Interests in partnerships or joint ventures
        0      No
        0      Yes. Describe ....... .
  43. Customer lists, mailing lists, or other compilations
        0No
        0 Yes.Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
  44. Any business-related property you did not already list
        0No
        0  Yes. Give specific information .......... .
        Saddles (6 of various types), horse tack, farrier tools, veterinary equipment and related supplies.                                                                           $ 1,500.00


 45.   :~~ ~~~~~!~:~~;~u~o~f~~~ ~~~i~~ ~~~t ~~~~:ra~~~~.~~~~.~.~~.r'.~.~.~~~.~..~~.~..~'..~.~~~.~~·i·~:.~~.~.~~~.~i.~.5..~~~.~.~~~.5-       ,.......►
                                                                                                                           ...................                                                           I
                                                                                                                                                                                                         $2,500.00    I
                  Describe      Any Farm- and Commercial                        Fishing-Related            Property You Own or Have an Interest                               In.
                    If you own or have an interest in farmland, list it in Part 1.

   46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
        0      No. Go to Part 7.
        0      Yes. Go to line 47.
                                                                                                                                                                                     Current value of the
                                                                                                                                                                                     portion you own?
                                                                                                                                                                                     Do not deduct secured
                                                                                                                                                                                     claims or exemptions.
   47. Farm animals
           Examples: Livestock, poultry, farm-raised fish

        0No
        0Yes         ...

        IEleven horses (Russian Trakehner)                                                                                                                                             $   unknown
   48. Crops-either            growing or harvested
         @No
         0 Yes. Give specific information ...

   49. Farm and fishing equipment, implements, machinery. fixtures, and tools of trade
         0No
         OYes ...
   50. Farm and fishing supplies, chemicals, and feed
         QNo
         0Yes        ...

         I Oats and Hay                                                                                                                                                                $ fil2Q,_QQ_

   51. Any farm- and commercial fishing-related property you did not already list
           0No
           0  Yes. Give specific information ...

           TR3 Arena Rake; sprayer; seeder attachments; flat bed trailer; horse jumps                                                                                                  $ ~

  52. Add the dollar value of the portion you own for all of your entries from Part 6, including any entries for pages
       you have attached for Part 6. Write that number here...........................................................................................................................................
                                                                                                                                                                                   ►




                 Describe All Pro e                 You Own or Have an Interest                        in That You Did Not List Above

   53. Do you have other property of any kind you did not already list?
           Examples: Season tickets, country club membership

           0No
           0  Yes. Give specific
             information ...

                                                                                                                                                                                                             page 6 of 7
                                         Case 21-17336-MAM                                    Doc 44               Filed 09/22/21                       Page 9 of 33
                  Anisa Nazarova                                                                                                                              Case number(if known)   21-17336-MAM
Debtor 1         First Name         M:ddlcNnmc          Last Name




           Land Trust 072003, Land Trust 0406, Anissa Nazarova Living Trust dated September 5, 2000




                                                                                                                              ►
 54. Add the dollar value of all of your entries from Part 7. Write that number here ................................................
                                                                                                                                                                                              $1,25B,QD0,.O0

■$1•1           List the Totals of Each Part of this Form

                                                                                                                                                 ►
  55. Part 1: Total real estate, line 2............................................................................................................................
                                                                                                                                                                                                   $0.00
  56. Part 2: Total vehicles, line 5                                                                               $ 0.00
  57. Part 3: Total personal and household items, line 15                                                          $ 285.00

  58. Part 4: Total financial assets, line 36                                                                      $ 56,841.85

  59. Part 5: Total business-related property, line 45                                                             $ 2,500.00

  60. Part 6: Total           farm- and fishing-related property, line 52                                          $ 5,900.00
  61. Part 7: Total other property not listed, line 54                                                         + $ 1,258,000.00
  62. Total personal property. Add lines 56 through 61 ...................                                          $ 1,323,526.85                Copy personal property total►         +$
                                                                                                                                                                                             1,323,526.85
  63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                                      $ 1,323,526.85




                                                                                                                                                                                                  page 7 of 7
                                        Case 21-17336-MAM                    Doc 44        Filed 09/22/21           Page 10 of 33

 Fill in this information to identify your case:

                        Anisa Nazarova
  Debtor 1
                        First Nome                   Middle Namo               Lnst Nnmc

  Debtor2
  (Spouse, if filing)   FirstNomo                    Middle Name               Lost Nnmc


  United States BankruptcyCourt for the: SouthernDistrict of Florida

  Case number
  (If known)
                         21-17336-MAM
                                                                                                                                                   D Check if this is an
                                                                                                                                                        amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                        4/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/8: Property (Official Form 106NB) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions-such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds-may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


                   Identify          the Property   You Claim as Exempt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
       0    You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
      0     You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)



 2. For any property you list on Schedule AIB that you claim as exempt, fill in the information                   below.


        Brief description of the property and line on              Current value of the              Amount of the                    Specific laws that allow exemption
        ScheduleAJBthat lists this property                        portion you own                   exemption you claim

                                                                   Copy the value from               Check only one box
                                                                   Schedule AIB                      for each exemption
              Householdgoods - Washing machine,dryer,                                                                                 11 U.S.C. § 522 (d)(5)
 Brief        refrigerator,stove, eating utensils,plates, drinking
 description: glasses,couch, end table, bookshelf,window
                                                                          $ 200.00             0s 200.00
              treatments,kitchentable, chairs (3), bed (single),
              wardrobe.
                                                                                               D 100% of fair marketvalue, up to
 Line from                                                                                          any applicablestatutorylimit
 Schedule AIB:      6
              Cash {dollars) (Cash On Hand)                                                                                           11 USC§ 522(d)(5)
 Brief
 description:
                                                                          $ 6,100.00           0s 1,32s.oo
                                                                                               0 100% of fair marketvalue, up to
 Line from                                                                                          any applicablestatutorylimit
 Schedule A/8:      16
              Cash (dollars) (Cash On Hand)                                                                                           11 U.S.C. § 522 (d)(5)
 Brief
 description:
                                                                          $6,100.00            0s     4,ns.oo
                                                                                               0    100% of fair marketvalue, up to
 Line from                                                                                          any applicablestatutorylimit
 Schedule AIB:               16

 3. Are you claiming a homestead exemption of more than $170,350?
      (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)

      0No
      D     Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
            0       No
            D       Yes



Official Form 106C                                                 Schedule C: The Property You Claim as Exempt                                                page 1 of   1_
                        Case 21-17336-MAM                               Doc 44         Filed 09/22/21                 Page 11 of 33
Debtor           Anisa Nazarova                                                                          Case number (if known) 21-17336-MAM
                Ftrst Name     Middle Name            Last Namo




•Mil            Additional    Page

         Brief description of the property and line                                                Amount of the                         Specific laws that allow exemption
                                                                        Current value of the       exemption you claim
         on Schedule AIB that lists this property                       portion you own
                                                                        Copy the value from        Check only one box
                                                                        Schedule A/8               for each exemption
               Sber Bank (Russia) Checking Account (Checking}                                                                              11 U.S.C. § 522 (d)(5)
Brief                                                                   $3,562.00                  0$      3,562.00
description:

Line from
                                                                                                   D 100% of fair market value, up to
                                                                                                        any applicablestatutory limit
ScheduleA/8:           17.1
  . f          Judgment Case No.: 38-2003-CA-000787(owed to                                                                                11 U.S.C. § 522 (d)(5)
Bne            debtor}                                                  $32,037.85                 0$      4,038.00
description:
                                                                                                   0100% of fair market value, up to
                                                                                                      any applicable statutorylimit
Line from
Schedule AIB:        35
             Computers (2 - 4yo and ?+yo); printers (3 - 1yo, 1yo and                                                                      11 USC § 522(d)(6)
Brief        4yo), dining table (used as desk), secretarial chairs (4), $1,000.00
                                                                                                   0$      1,000.00
description: various tables, children's desks, folding table; massage
             tables (used as folding table), couch, paper, toner,                                  0    100% of fair market value, up to
Line from    general office supplies.                                                                   any applicable statutory limit
Schedule A/8:        39
   .         Saddles (6 of various types), horse tack, farrier tools,                                                                      11 USC § 522(d)(6)
Brief        veterinary equipment and related supplies.                 $1,500.00                  0    $1,500.00
description:

Line from
                                                                                                   0    100% of fair market value, up to
                                                                                                        any applicablestatutory limit
Schedule AIB:          44
                Eleven horses (Russian Trakehner)                                                                                          11 USC § 522(d)(3)
Brief
                                                                        $Unknown                   0    $ 13,400.00
description:
                                                                                                   D 100% affair marketvalue, up to
Line from                                                                                               any applicable statutory limit
Schedule AIB:         47
               Oats and Hay                                                                                                                11 USC § 522(d)(3)
Brief
                                                                        $900.00                    0$      900.00
description:
                                                                                                   0    100% of fair market value, up to
Line from                                                                                               any applicable statutory limit
Schedule AIB:           50
Brief
                                                                        $ _______              _   0$     ___             _
description:

Line from
                                                                                                   0    100% of fair market value, up to
                                                                                                        any applicable statutory limit
Schedule A/8:
Brief
description:                                                            $______            _       0$     ___                 _
                                                                                                   D 100% of fair marketvalue, up to
                                                                                                        any applicable statutory limit
Line from
Schedule AIB:
Brief
                                                                        $______                _   0$
description:                                                                                              ------
                                                                                                   0    100% of fair market value, up to
Line from                                                                                               any applicablestatutory limit
Schedule A/8:
Brief
description:                                                            $______                _   0$     ------
Line from
                                                                                                   0    100% of fair market value, up to
                                                                                                        any applicable statutory limit
Schedule A/8:
Brief
description:                                                            $______            _       0$     __          _
                                                                                                   D 100%of fair market value, up to
                                                                                                        any applicable statutory limit
Line from
Schedule AIB:
Brief
                                                                        $_______               _   0$     ___                 _
description:
                                                                                                   D 100%of fair market value, up to
Line from                                                                                               any applicablestatutory limit
Schedule AIB:


 Official Form 106C                                         Schedule C: The Property You Claim as Exempt                                                    pageg_of   2
                                           Case 21-17336-MAM                       Doc 44         Filed 09/22/21              Page 12 of 33

  Fill in this information         to identify your case:

                     Anisa Nazarova
  Debtor 1
                     F1r,;tName                                  Last Nnme
                                            M1dtl!eNn1110

  Debtor 2
  (Spouse, If filing)      Firc.rN,m,             Mldd'.c Name
                                                                       Lusl Name



  United States Bankruptcy Court for the: Southern District of Florida

  Case number 21-17336-MAM                                                                                                                                     0   Check if this is
  (if know)                                                                                                                                                        an amended
                                                                                                                                                                   filing




  Official Form 106D
  Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                  12/15

  Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
  If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. on the top of any additional pages, write
  your name and case number (if known).

 1. Do any creditors have claims secured by your property?
   O No. Check this box and submit this form to the court with your other schedules.                   You have nothing else to report on this form.
   0 Yes. Fill in all of the information below.

•¥•+            List All Secured Claims
                                                                                                              Column A                       Column a               ColumnC
  2. List all secured claims. If a creditor has more than one secured claim, list the creditor
     separately for each claim. If more than one creditor has a particular claim, list the other creditors in Amount of                      Value of               Unsecured
     Part 2. As much as possible, list the claims in alphabetical order according to the creditor's name. claim Do not                       collateral that        portion If any
                                                                                                              deduct the value               supports this
                                                                                                              of collateral.                 claim
                                                                     Describe the property that secures the claim: $ 90,000.00               $ 0.00                $ 90,000.00


        Deer Run Property Owners' Association
       Creditor's Name
       c/o Steven R. Braten

                                                              As of the date you file, the claim is: Check all
       "'2-'-50.c.....cS..co..cu""th_A'-"'-u-'-st"-ra"'lc.cia""n-'-A-'-v'--'ec.c.______
                                                              that apply.
       Number Street                                          0 Contingent
       _S_u_ite_50_0
               ____________                                      O Unliquidated
                                                                 0 Disputed
       West Palm Beach FL                   33401
       City                        State    ZIP Code             Nature of lien. Check all that apply.
       Who owes the debt? Check one.                             O An agreement you made (such as mortgage or
       0 Debtor 1 only                                               secured car loan)
       0 Debtor 2 only                                           0   Statutory lien (such as tax lien, mechanic's lien)

       O Debtor 1 and Debtor 2 only                              0   Judgment lien from a lawsuit

       O At least one of the debtors and another                 0   Other {including a right to offset) ______           _
                                                                 Last 4 digits of account number
       0 Check if this claim relates to a
              community debt

       Date debt was incurred __




Official Form 106D                                                Schedule D: Creditors Who Have Claims Secured by Property                                                 page 1 of 4
Debtor
                  Anisa Nazarova
                 FirslNmm:
                                        Case 21-17336-MAM
                                   M1dd!cN;1mc     L.O.SIName
                                                                                    Doc 44          Filed 09/22/21              Page
                                                                                                                                  Case13  of 33known)
                                                                                                                                       number(if        21-17336-MAM


                                                                    Describe the property that secures the claim:         $ 8,816.07        $ 1,000,000.00   $ 0.00


                                                                2251 Buck Ridge Trail, Loxahatchee, FL 33470 - $1,000,000.00
       Deer Run Property Owners Association,
       Creditor's Name
       Inc c/o Rosenbaum PLLC
                                                                As of the date you file, the claim is: Check all
       250 Australian Avenue South                              that apply.
       Number          Street
                                                                0    Contingent
       5th Floor                                                0    Unliquidated
                                                                0    Disputed
       West Palm Beach FL                  33401
       City                        Slate   ZIP Code             Nature of lien. Check all that apply.
       Who owes the debt? Check one.                            0  An agreement you made (such as mortgage or
                                                                   secured car lo,m)
       0 Debtor 1 only                                          0  Statutory lien (such as tax lien, mechanic's lien)
       0        Debtor 2 only
                                                                0    Judgment lien from a lawsuit
       0        Debtor 1 and Debtor 2 only
                                                                0    Other (including a right to offset) ______           _
       0      Al least one of the debtors and another
                                                                Last 4 digits of account number
       0        Check if this claim relates to a
                community debt

         Date debt was incurred __

                                                                    Describe the property that secures the claim: $ 115,900.00              $ 1,000,000.00   $ 0.00

                                                                 2251 Buck Ridge Trail, Loxahatchee, FL 33470 - $1,000,000.00
         Enterprise Funding Solutions LLC
         Creditor's Name
         4600 N Flagler
         Number        Street
                                                                As of the date you file, the claim is: Check all
         West Palm Beach FL                33407                that apply.
         City                      State   ZIP Code
                                                                0    Contingent
         Who owes the debt? Check one.                          0    Unliquidated
         0 Debtor 1 only                                        0    Disputed
       0        Debtor 2 only
       0        Debtor 1 and Debtor 2 only                      Nature of lien. Check all that apply.
       0        At least one of the debtors and another         0    An agreement you made (such as mortgage or
                                                                     secured car loan)
       0        Check if this claim relates to a                0    Statutory lien (such as tax lien, mechanic's lien)
                community debt                                  0    Judgment lien from a lawsuit

         Date debt was incurred __
                                                                0    Other (including a right to offset) ______           _
                                                                Last 4 digits of account number

                                                                    Describe the property that secures the claim: $ 30,000.00               $ 100,000.00     $ 0.00

                                                                 14701 NW 83rd Place, Morriston, FL 32668 - $100,000.00
         Fidelity National Title Group;
         Creditor's Name
         Commonwealth Land Title Insurance
                                                                As of the date you file, the claim is: Check all
         Company                                                that apply.
                                                                0 Contingent
         2533 N 117th Ave                                       0 Unliquidated
         Number        Street
         Omaha NE               68164
                                                                0    Disputed

         City        Slate      ZIP Code                        Nature of lien. Check all that apply.
         Who owes the debt? Check one.                          0  An agreement you made (such as mortgage or
                                                                   secured car loan)
         0      Debtor 1 only
                                                                0 Statutory lien (such as tax lien, mechanic's lien)
         0      Debtor 2 only
                                                                0    Judgment lien from a lawsuit
         0      Debtor 1 and Debtor 2 only
                                                                0    Other (including a right to offset) ______           _
         0      At least one of the debtors and another
                                                                Last 4 digits of account number
         0      Check if this claim relates to a
                community debt

         Date debt was incurred __




Official Farm 106D                                                  Schedule D: Creditors Who Have Claims Secured by Property                                         page 2 of 4
Debtor
                  Anisa Nazarova
                 Firs1Namr.
                                          Case 21-17336-MAM
                                  Middle Name     last Name
                                                                                       Doc 44        Filed 09/22/21              Page
                                                                                                                                   Case14 of 33
                                                                                                                                       number(if known)   21-17336-MAM


                                                                     Describe the property that secures the claim: $ _47_._o.c.o
                                                                                                                          __    _            $ 100,000.00     $ 0.00

                                                                  14701 NW 83rd Place, Morriston, FL 32668 - $100,000.00
         Marion County Tax Collector
         Creditor'~ Name
         503 SE 25th Ave
         Number       Street
                                                                As of the date you file, the claim is: Check all
         Ocala FL             34471                             that apply.
         City      S1a1e ZIP Corle                              0   Contingent
         Who owes the debt? Check one.                          0     Unliquidated
         0      Debtor 1 only                                   0     Disputed
         0      Debtor 2 only
         0      Debtor 1 and Debtor 2 only                       Nature of lien. Check all that apply.
         0   At least one of the debtors and another
                                                                O An agreement you made (such as mortgage or
                                                                      secured car loan)
         0      Check if this claim relates to a                0     Statutory lien (such as tax lien, mechanic's lien)
                community debt                                  0     Judgment lien from a lawsuit

         Date debt was incurred __
                                                                0     Other (including a right to offset) ______           _

                                                                 Last 4 digits of account number

                                                                     Describe the property that secures the claim: $ 17,600.00               $ 1,000,000.00   $ 0.00

                                                                  2251 Buck Ridge Trail, Loxahatchee, FL 33470 - $1,000,000.00
         Palm Beach County Tax Collector c/o
         Creditor's Name
         Hampton Peterson Esq.

         POB                                                     As of the date you file, the claim is: Check all
                  3715                                           that apply.
         Number Street                                           0       Contingent
         ..:..W:..:e:.:s..:..t                                        O Unliquidated
                 .:....P.::a::..:lm..:....:::B.::e::::ac:::_h.:_.!_F::_L
                                        _ _:3:::,3::.:4c:::0:=:2____
         City                     State    ZIP Code
                                                                 0    Disputed
         Who owes the debt? Check one.
         0 Debtor 1 only                                         Nature of lien. Check all that apply.
         0      Debtor 2 only                                    0  An agreement you made (such as mortgage or
                                                                    secured car loan)
         0      Debtor 1 and Debtor 2 only
                                                                 0  Statutory lien (such as tax lien, mechanic's lien)
         0      At least one of the debtors and another
                                                                 0    Judgment lien from a lawsuit
         0      Check if this claim relates to a                 0    Other (including a right to offset) ______           _
                community debt
                                                                 Last 4 digits of account number
         Date debt was incurred __

                                                                     Describe the property that secures the claim: $ 317,654.47              $ 1,000,000.00    $ 0.00


                                                                  2251 Buck Ridge Trail, Loxahatchee, FL 33470 - $1,000,000.00
         PNC Bank Retail Lending
         Creditor's Name
         P.O. Box 94982
         Number        Street
                                                                 As of the date you file, the claim is: Check all
         Cleveland OH            44101                           that apply.
         City            State   ZIP Code                        0   Contingent
         Who owes the debt? Check one.                           0    Unliquidated
         0 Debtor 1 only                                         0    Disputed
         0      Debtor 2 only
         0      Debtor 1 and Debtor 2 only                       Nature of lien. Check all that apply.
         0      At least one of the debtors and another
                                                                 0  An agreement you made (such as mortgage or
                                                                    secured car loan)
         0      Check if this claim relates to a                 0  Statutory lien (such as tax lien, mechanic's lien)
                community debt                                   0    Judgment lien from a lawsuit

         Date debt was incurred __
                                                                 0    Other (including a right to offset) ______           _

                                                                 Last 4 digits of account number




Oflicial Form 106D                                                   Schedule D: Creditors Who Have Claims Secured by Property                                          page 3 or 4
Debtor           Anisa Nazarova
                FirstN.i.mc
                                          Case 21-17336-MAM
                                  Midd!c Name      Last Nf\"1C
                                                                                     Doc 44        Filed 09/22/21                Page
                                                                                                                                   Case15  of 33
                                                                                                                                        number(if known) 21-17336-MAM



                                                                     Describe the property that secures the claim: $ 3,000.00                    $ 1,000,000.00   $ 0.00


                                                                  2251 Buck Ridge Trail, Loxahatchee, FL 33470 - $1,000,000.00
      Shawna Hurdin~ c/o Alexander Domb,
      Creditor's Name
      P.A.
                                                                 As of the date you file, the claim is: Check all
      .;;;;.11;;;.;1;;..;9-'-9_P.....;o
                   __
                    lo--C_lu_b_R_d
                                ________                         that apply.
      NumhP.r Strem                                              0 contingent
      Suite 1                                                    0    Unliquidated
                                                                 0    Disputed
      West Palm Beach FL                   33414
      City                        State    ZIP Code              Nature of lien. Check all that apply.
      Who owes the debt? Check one.                              O An agreement you made (such as mortgage or
                                                                      secured car loan)
      0 Debtor 1 only                                            O Slatutury lien (such as tax lien, mechanic's lien)
      0 Debtor 2 only                                            O Judgment lien from a lawsuit
      O Debtor 1 and Debtor 2 only                               O Other (including a right to offset) ______             _
      O At least one of the debtors and another
                                                                 Last 4 digits of account number
      O Check if this claim relates to a
             community debt

      Date debt was incurred __

     Add the dollar value of your entries in Column A on this page. Write that number here:                               $ 583,017.54



                 List Others to Be Notified for a Debt That You Already Listed

  Use this page only if you have others to be notified about your bankruptcy tor a debt that you already listed in Part 1. For example, if a collection
  agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here.
  Similarly, if you have more than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have
  additional persons to be notified for any debts in Part 1, do not fill out or submit this page.

         McGlinchey Stafford                                                           On which line in Part 1 did you enter the creditor?
         Creditor's Name                                                               Last 4 digits of account number ______                _
         ATTN: Kimberly Held Israel
         Number          Street
         10407 Centurion Pkwy N., Ste 200

         Jacksonville FL              32256
         City                 State   ZIP Code




OfficialForm106D                                                     Schedule D: Creditors Who Have Claims Secured by Property                                             page 4 of 4
                                        Case 21-17336-MAM                           Doc 44         Filed 09/22/21             Page 16 of 33

  Fill in this information to identify your case:

   Debtor 1         Anisa Nazarova
                                                                 La~t Nnme
                                          Middle Ni'lm@

   Debtor 2
   (Spouse, if filing)     First Name
                                                 Middle Nam!:!


   United States Bankruptcy Court for the: Southern District of Florida

   Case number 21-17336-MAM                                                                                                                      0   Check if this is
   (if know)                                                                                                                                         an amended
                                                                                                                                                     filing



  Official Form 106E/F
  Schedule E/F: Creditors Who Have Unsecured                                                                           Claims                                  12/15
 Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the
 other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property
 (Official Form 106A/B} and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with
 partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you
 need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of any additional pages, write
 your name and case number (if known).

                 List All of Your PRIORITY Unsecured Claims
  1. Do any creditors have priority unsecured claims against you?
     0   No. Go to Part 2.
     □ Yes.

                 List All of Your NONPRIORITY Unsecured Claims

  3. Do any creditors have nonpriority unsecured claims against you?
     O No. You have nothing else to report in this part. Submit to the court with your other schedules.
    0    Yes. Fill in all of the information below.

   4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
      nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
      included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.lf you have more than three nonpriority unsecured
      claims fill out the Continuation Page of Part 2.

                                                                                                                                                         Total claim

                                                                             Last 4 digits of account number 7265
          Florida Power and Light                                                                                                                              $   56.00
                                                                             When was the debt incurred? ____             _
          Nonpriority Creditor's Name
          General Mail Facility                                              As of the date you file, the claim is: Check all that apply.
          Number       Street                                                0  Contingent
          Miami FL          33188-0001                                       0 Unliquidated
          City     State    ZIP Code
                                                                             0 Disputed
         Who owes the debt? Check one.
         0 Debtor1 only                                                      Type of NONPRIORITY unsecured claim:
         0 Debtor2 only                                                      QStudent loans
         O Debtor1 and Debtor 2 only                                         O Obligationsarising out of a separationagreementor divorce
                                                                                that you did not report as priority claims
         0 At least one of the debtorsand another                            O Debts to pensionor profit-sharingplans, and other similar
         O Check if this claim relates to a community                           debts
             debt                                                            0 Other. Specify
         Is the claim subject to offset?
         @No
         0Yes




Official Form 106E/F                                                 Schedule E/F: Creditors Who Have Unsecured Claims                                        page 1 of 3
 Debtor           Anisa Nazarova         Case 21-17336-MAM              Doc 44          Filed 09/22/21           Page 17
                                                                                                                   Case    of 33
                                                                                                                        number(ifknown) 21-17336-MAM
                 F1rs1Narnc         M1dd!cName   Last Name




                                                                Last 4 digits of account number 7265
          Florida Power and Light                                                                                                               $    123,16
                                                                When was the debt incurred? _____                _
          Nunµriurity Cretlitur's Name
          General Mail Facility                                 As of the date you file, the claim is: Check all that apply.
          Numher       Street                                   0  Contingent
          Miami FL            33188-0001                        0  Unliquidated
          City      State     ZIP Code
                                                                O Disputed
          Who owes the debt? Check one.
          0 Debtor 1 only                                       Type of NONPRIORITY unsecured claim:
          O Debtor 2 only                                       Ostudent loans
          O Debtor 1 and Debtor 2 only                          0 Obligations arising out of a separation agreement or divorce
                                                                  that you did not report as priority claims
          O At least one of the debtors and another             O Debts to pension or profit-sharing plans, and other similar
          O Check if this claim relates to a community            debts
              debt                                              0 Other. Specify Utility Services
          Is the claim subject to offset?
          0No
          □ Yes
                                                                Last 4 digits of account number 6569
          Florida Power and Light                                                                                                                   $ 45.59
                                                                When was the debt incurred? _____                _
          Nonpriority Creditor's Name
          General Mail Facility                                 As of the date you file, the claim is: Check all that apply.
          Number       Street                                   0  Contingent
          Miami FL            33188-0001                        0   Unliquidated
          City State          ZIP Code
                                                                0   Disputed
          Who owes the debt? Check one.
         0 Debtor 1 only                                        Type of NONPRIORITY unsecured claim:
         O Debtor 2 only                                        0Student loans
          0 Debtor 1 and Debtor 2 only                          O Obligations arising out of a separation agreement or divorce
                                                                   that you did not report as priority claims
          O At least one of the debtors and another             0 Debts to pension or profit-sharing plans, and other similar
          O Check if this claim relates to a community             debts
              debt                                              0 Other. Specify Utility Services
          Is the claim subject to offset?
         0No
         @Yes
                                                                Last 4 digits of account number
          Sumter Electric Cooperative Inc                                                                                                       $ 300.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred? _____                _

          330 S US Highway 301                                  As of the date you file, the claim is: Check all that apply.
          Number       Street                                   0  Contingent
          Sumterville FL            33585                       0 Unliquidated
          City              State   ZIP Code
                                                                0 Disputed
          Who owes the debt? Check one.
          0 Debtor 1 only                                       Type of NONPRIORITY unsecured claim:
          0 Debtor 2 only                                       0Student loans
          O Debtor 1 and Debtor 2 only                          0 Obligations arising out of a separationagreement or divorce
                                                                  that you did not report as priority claims
          O At least one of the debtors and another             O Debts to pension or profit-sharingplans, and other similar
          O Check if this claim relates to a community              debts
              debt                                              0   Other. Specify
          Is the claim subject to offset?
         0No
         0Yes

                  List Others to Be Notified About a Debt That You Already Listed

  5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a
     collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the
     collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional
     creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.


                  Add the Amounts for Each Type of Unsecured Claim

  6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
     Add the amounts for each type of unsecured claim.




Official Form 106E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                  page 2 of 3
Debtor         Anisa Nazarova
              First Name
                                     Case Last
                              M:dtltc Name
                                          21-17336-MAM
                                               Nanic-
                                                                        Doc 44          Filed 09/22/21               Page
                                                                                                                       Case 18 of 33
                                                                                                                            number(if known)   21-17336-MAM



                                                                                                            Total claim

  Total claims         6a. Domestic support obligations                                         6a.   $   0.00
  from Part 1
                       6b. Ta>cesand certain other debts you owe the                            6b.   $   0.00
                       government
                       6c. Claims for death or personal injury while you were                   Ge. $ 0.00
                           intoxicated
                       6d. Other. Add all other priority unsecured claims. Write that           6d.   $ 0.00
                           amount here.
                       6e. Total. Add lines Ga through 6d.                                      6e.
                                                                                                          $ 0.00



                                                                                                            Total claim

  Total claims         61. Student loans                                                        61.   $ 0.00
  from Part2
                       6g. Obligations arising out of a separation agreement or                 6g.   $ 0.00
                           divorce that you did not report as priority claims
                       6h. Debts to pension or profit-sharing plans, and other                  6h.   $ 0.00
                           similar debts
                       6i. Other. Add all other nonpriority unsecured claims. Write that        6i.   $ 524.75
                           amount here.

                       6j. Total. Add lines 61through 6i.                                       6j.
                                                                                                          $ 524.75




Official Form 106E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page 3 of 3
                                   Case 21-17336-MAM                     Doc 44         Filed 09/22/21              Page 19 of 33

  Fill in this information to identify your case:

   Debtor 1
                     Anisa Nazarova
                      First Name                                 Last Name
                                         Middle Name

   Debtor 2
   (Spouse, if filing)      First Name
                                               Middle Name
                                                                       Last Name



   United States Bankruptcy Court for the: Southern District of Florida

   Case number 21-17336-MAM
                                                                                                                                    D Check if this is
   (if know)                                                                                                                          an amended
                                                                                                                                      filing




   Official Form 106G
  Schedule G: Executory Contracts and Unexpired Leases                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page.
On the top of any additional pages, write your name and case number (if known).


 1. Do you have any executory contracts or unexpired leases?
    0    No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
    0    Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).


 2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is
    for (for example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of
    executory contracts and unexpired leases.


        Person or company with whom you have the contract or lease State what the contract or lease is for




Official Form 106G                                           Schedule G: Executory Contracts and Unexpired Leases                              page l of l
                                    Case 21-17336-MAM                       Doc 44             Filed 09/22/21        Page 20 of 33

Fill in this information to identify your case:

               Anisa Nazarova
Debtor 1
                 Fir~t Name           M1c1dleNllmf!
                                                            L05t N.ll11C


Debtor 2
(Spouse, if filing)    First Nnmc            MlddlcN.i.mc
                                                                    Last NRme



United States Bankruptcy Court for the: Southern District of Florida

Case number 21-17336-MAM
                                                                                                                                            0   Check if this is
(if know)                                                                                                                                       an amended
                                                                                                                                                filing




 Official Form 106H
 Schedule H: Your Codebtors                                                                                                                              12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two
married people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the
Additional Page, fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any
Additional Pages, write your name and case number (if known). Answer every question.


 1. Do you have any codebtors?               (If you are filing a joint case, do not list either spouse as a codebtor.)
   @No
   OYes
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
    Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
   0    No. Go to line 3.
    0  Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
    shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
    Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G}. Use Schedule D,
    Schedule E/F, or Schedule G to fill out Column 2.


        Column 1: Your codebtor                                                                       Column 2: The creditor to whom you owe the debt
                                                                                                      Check all schedules that apply:




Otticial Form 106H                                                              Schedule H: Your Codebtors                                               page 1 of 1
                                 Case 21-17336-MAM                Doc 44           Filed 09/22/21           Page 21 of 33

 Fill in this information to identify your case:

                     Anisa Nazarova
 Debtor1
                   First Name                                         Lu:;INmm.·

 Debtor2
 (Spouse, if filing) FirslName                MiddleName              Last Name


 UnitedStatesBankruptcyCourtfor the: _ Southern District of Florida

 Casenumber             21-17336-MAM                                                                    Check if this is:
  (If known)
                                                                                                       D An amended filing
                                                                                                       DA     supplement showing postpetition chapter 13
                                                                                                            income as of the following date:
Official Form 1061                                                                                          MM/ DD/ YYYY

Schedule I: Your Income                                                                                                                              12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


■@•+              Describe       Employment


1. Fill in your employment
      information.                                                          Debtor 1                                     Debtor 2 or non-filing spouse

      If you have more than one job,
      attach a separate page with
      information about additional        Employment status             ~Employed                                       □ Employed
      employers.                                                         D Not employed                                 D Not employed
      Include part-time, seasonal, or
      self-employed work.                                                 Horse farmer
                                          Occupation
      Occupation may include student
      or homemaker, if it applies.                                        Loxahatchee     Horse Farm

                                          Employer"s name


                                          Employer's address              2251 Buck Ridge Trail
                                                                        Number Street                                  Number Street




                                                                         Loxahatchee,     FL 33470
                                                                        City             State ZIP Code                City                State ZIPCode
                                          How long employed there?_2_1~y_e_a_r_s
                                                                            _________                          _



■if◄              Give Details About Monthly Income

      Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
      spouse unless you are separated.
      If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
      below. If you need more space, attach a separate sheet to this form.

                                                                                                   For Debtor 1        For Debtor 2 or
                                                                                                                       non-filing spouse
 2. List monthly gross wages, salary, and commissions (before all payroll
       deductions). If not paid monthly, calculate what the monthly wage would be.        2.              0.00
                                                                                               $                          $

 3.    Estimate and list monthly overtime pay.                                            3. +$           0.00         + $


 4. Calculate gross income. Add line 2 + line 3.                                          4.   $          o.oo     I      $



Official Form 1061                                              Schedule I: Your Income                                                          page 1
                                    Case 21-17336-MAM                                    Doc 44                   Filed 09/22/21                 Page 22 of 33
Debtor 1
                Anisa Nazarova                                                                                                        Case number cuknown)   21-17336-MAM
                 Firsl Name         Middle Name                LastName

                                                                                                                                  For Debtor 1               For Debtor 2 or
                                                                                                                                                             non-filing spouse

   Copy line 4 here ..................................................                                                            $           0.00             $
                                                                         ···········•······•·····•················-+   4.
5. List all payroll deductions:

    5a. Tax, Medicare, and Social Security deductions                                                                  5a.        $           0.00             $

     5b. Mandatory contributions for retirement plans                                                                  5b.        $           0.00             $
     5c. Voluntary contributions for retirement plans                                                                  5c.        $           0.00             $
     5d. Required repayments of retirement fund loans                                                                  5d.        $           0.00             $
     5e. Insurance                                                                                                     5e.        $           0.00             $
    5f. Domestic support obligations                                                                                   5f.        $           0.00             $
                                                                                                                                  $           0.00             $
     5g. Union dues                                                                                                    5g.
     5h. Other deductions. Specify:                                                                                    5h. +$                 0.00           + $
                                                                                                                                  $                            $
                                                                                                                                  $                            $
                                                                                                                                  $                            $

 6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + Sh.                                        6.         $           0.00             $
 7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                                7.         $           0.00             $


 B. List all other income regularly received:

     Ba. Net income from rental property and from operating a business,
         profession, or farm
           Attach a statement for each property and business showing gross
           receipts, ordinary and necessary business expenses, and the total                                                            5,316.37
                                                                                                                                  $                            $
           monthly net income.                                                                                         Ba.
     Bb. Interest and dividends                                                                                        Bb.        $           0.00             $
     Be. Family support payments that you, a non-filing spouse, or a dependent
         regularly receive
         Include alimony, spousal support, child support, maintenance, divorce
                                                                                                                                  $           0.00             $
         settlement, and property settlement.                                  Be.
     Bd. Unemployment compensation                                                                                     Bd.        $           0.00             $
     Be. Social Security                                                                                               Be.        $           0.00             $
     Bf. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) of any non-cash assistance
         that you receive, such as food stamps (benefits under the Supplemental
         Nutrition Assistance Program) or housing subsidies.
                                                                                                                                  $           0.00             $
         Specify:_____________________                                             Bf.                                                -----
     Bg. Pension or retirement income                                                                                  Bg.        $        357.00              $
     Bh. Other monthly income. Specify: ____________                                                             _     Bh. +$                 0.00           +$

 9. Add all other income. Add lines Ba + Bb + Be+ Bd +Be+ Bf +Bg + Bh.                                                 9.
                                                                                                                              I   $ 5,673.37
                                                                                                                                                      II       $
                                                                                                                                                                                   I
1o.Calculate monthly income. Add line 7 + line 9.
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                          10•   I$        5,673.37
                                                                                                                                                      l+I      $
                                                                                                                                                                                   I= 1$
                                                                                                                                                                                           5,673.37

11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify: Contributions from dauQhter, Lilia Belkova Russo                                                                     11. + $                                                  1,982.84

12. Add the amount in the last column of line 1Oto the amount in line 11. The result is the combined monthly income.
                                                                                                                                                                                           7,656.21
    Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if ii applies                                                       12.       1$
                                                                                                                                                                                       Combined
                                                                                                                                                                                       monthly income
13. Do you expect an increase or decrease within the year after you file this form?
     D No.          Farming operations are expected to return to pre-COVID levels within 12 to 18 months, which will translate
     ~Yes. Explain: into a gradual but substantial increase in monthly income.


  Official Form 1061                                                                  Schedule I: Your Income                                                                            page 2
                                       Case 21-17336-MAM                    Doc 44             Filed 09/22/21               Page 23 of 33


     Fill in this information to identify your case:

                         Anisa Nazarova
     Debtor 1
                         First NRmB                 M~dcllaN;une            LH:il NHmL'                          Check if this is:
     Debtor 2                                                                                                    OAn amended filing
     (Spouse, if filing) First Nome                 MidCIIC Name            Ln~tN.imo
                                                                                                                 DA    supplement showing postpetition chapter 13
     United states Bankruptcy court for the: Southern District of Florida
                                                                                          (State}
                                                                                                                     expenses as of the following date:
                          21-17336-MAM
     Case number                                                                                                     MM/     DD/ YYYY
     (If known)




 Official Form 106J
Schedule J: Your Expenses                                                                                                                                       12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

                       Describe Your Household

1.   Is this a joint case?

     ~No.   Go to line 2.
     D Yes. Does Debtor 2 live in a separate household?
                  □No
                  Oves.         Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2. Do you have dependents?                        ~No                                         Dependent's relationship to               Dependent's   Does dependent live
      Do not list Debtor 1 and                    D   Yes. Fill out this information for Debtor 1 or Debtor 2                           age           with you?
      Debtor 2.                                       each dependent.......................... ------------
      Do not state the dependents'
      names.




3.    Do your expenses include
                                                  □ No
      expenses of people other than
      yourself and your dependents?               Elves

                   Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form 1061.)                                                      Your expenses

 4. The rental or home ownership expenses for your residence.                    Include first mortgage payments and                                         0.00
                                                                                                                                          $
        any rent for the ground or lot.                                                                                          4.

        If not included in line 4:
                                                                                                                                                           800.00
        4a.    Real estate taxes                                                                                                 4a.      $

        4b.    Property, homeowner's, or renter's insurance                                                                      4b.      $
                                                                                                                                                           330.00

        4c. Home maintenance, repair, and upkeep expenses                                                                        4c.      $                  0.00
        4d.    Homeowner's association or condominium dues                                                                       4d.      $                130.00

     Official Form 106J                                             Schedule J: Your Expenses                                                                page 1
                              Case 21-17336-MAM                  Doc 44       Filed 09/22/21      Page 24 of 33

                  Anisa Nazarova                                                        Case number(ii known)21- 17336-MAM
 Debtor1
                 Fusi Name    MHJdlcNorm:       LO$lNome                                                    --------------

                                                                                                                    Your expenses


 5. Additional mortgage payments for your residence, such as home equity loans                              5.
                                                                                                                    $                 0.00

 6. Utilities:
     Ba. Electricity, heat, natural gas                                                                     6a.     $               3QQ.QQ
     6b. Water, sewer, garbage collection                                                                   6b.     $                 ooo
     Be. Telephone, cell phone, Internet, satellite, and cable services                                     6c.     $                6Q.QQ
     6d. Other. Specify:                                                                                    6d.     $                 0.00
 7. Food and housekeeping supplies                                                                          7.      $               120.00
 8. Childcare and children's education costs                                                                8.      $                 0 00
 9. Clothing, laundry, and dry cleaning                                                                     9.      $                15 OQ
10. Personal care products and services                                                                      10.    $                jQ OQ
11. Medical and dental expenses                                                                              11.    $                 0,QQ
12. Transportation. Include gas, maintenance, bus or train fare.
    Do not include car payments.                                                                             12.
                                                                                                                    $               200.00

13. Entertainment, clubs, recreation, newspapers, magazines, and books                                       13.    $                15.00
14. Charitable contributions and religious donations                                                         14.    $                 0.00
15. Insurance,
    Do not include insurance deducted from your pay or included in lines 4 or 20.

     15a. Life insurance                                                                                    15a.    $                 0.00
     15b. Health insurance                                                                                   15b.   $                 0.00
     15c. Vehicle insurance                                                                                  15c.   $               100,QO
     15d. Other insurance. Specify: ________________                                _                       15d.    $                 0 QO
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
     Specify: ______________________                                               _                         16.    $                 0.00

17. Installment or lease payments:

     17a. Car payments for Vehicle 1                                                                         17a.   $                 0.00
     17b. Car payments for Vehicle 2                                                                         17b.   $                 0.00
     17c. other. Specify:     Mortgage on 4.32 acre Marion County property                                   17c.   $               161.00
     17d. Other. Specify: ___________________                                   _                            17d.   $                 0.00
18. Your payments of alimony, maintenance, and support that you did not report as deducted from
    your pay on line 5, Schedule I, Your Income (Official Form 1061).                                         18.
                                                                                                                    $                 0.00

19. Other payments you make to support others who do not live with you.
    Specify: _______________________                                           _                              19.   $                 0.00

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

     20a. Mortgages on other property                                                                       20a.    $                 0.00
     20b. Real estate taxes                                                                                 20b.    $                 0.00
     20c. Property, homeowner's, or renter's insurance                                                      20c.    $                 0.0Q
     20d. Maintenance, repair, and upkeep expenses                                                          20d.    $                 aoo
     2oe. Homeowner's association or condominium dues                                                       20e.    $                 0.00

   Official Form 106J                                      Schedule J: Your Expenses                                                   page 2
                                Case 21-17336-MAM                    Doc 44        Filed 09/22/21            Page 25 of 33

                    Anisa Nazarova                                                                                         21 17336
 Debtor 1                                                                                        Case number (ii k11own)  -    -MAM
                  First Namo    Middle Namo        L.ist Name                                                         --------------

21.     Other. Specify: Horse feed and oats
                                                                                                                       21      +$             1,800.00
Farrier                                                                                                                      • +$________
                                                                                                                                 -----1-2-0-.0-0-    _
50% of disputed mortgage payment on Buck Ridge Trail property                                                                  +$               1,982_84
                                                                                                                                    ---------
22.     Calculate your monthly expenses.

       22a. Add lines 4 through 21.                                                                                   22a.
                                                                                                                                :----6_,         1_43_._84_j
       22b. Copy line 22 (monthly expenses for Debtor 2). if any, from Official Form 106J-2 22c. Add line 22a         22b.

       and 22b. The result is your monthly expenses.                                                                  22c                       6,143.84
                                                                                                                                $
                                                                                                                                 ---------
23. Calculate your monthly net income.
                                                                                                                                 $____          7_,_65_6_.2_1_
      23a.    Copy line 12 (your combined monthly income) from Schedule I.                                            23a.

      23b.    Copy your monthly expenses from line 22c above.                                                         23b.     -$ ____          6_,
                                                                                                                                                  1_4_3_.8_4_

      23c.    Subtract your monthly expenses from your monthly income.                                                                          1,512.37
                                                                                                                                 $
              The result is your monthly net income.                                                                  23c.          ---------

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

       For example, do you expect to finish paying for your car loan within the year or do you expect your
       mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      □ No.
      ~Yes.         Explain here:    Most expenses herein are related to the business. Living expenses in Russia are nominal.
                                     Business expenses are expected to rise along with increased operations over the next 18
                                     months.




      Official Fonm 106J                                        Schedule J: Your Expenses                                                           page 3
                                       Case 21-17336-MAM                    Doc 44             Filed 09/22/21               Page 26 of 33

Fill in this information to identify your case:                                                        l
Debtor 1          Anisa Nazarova
                   Fl~tNamo                      Middte Name               Last Name

Debtor 2
(Spouse, if filing) FirstNamo                    M1ddloName                La~tName


United States Bankruptcy Court for the      Southern District of Florida
Case number        21-17336-MAM
(If known)
                                                                                                                                                          D   Check if this is an
                                                                                                                                                              amended filing



  Official Form 106Dec
  Declaration                              About an Individual Debtor's Schedules                                                                                       12/15

  If two married people are filing together, both are equally responsible for supplying correct information.

  You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
  obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
  years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




                   Sign Below



       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

       0     No
       0     Yes. Name of person___________________                                                  . Attach Bankruptcy Petition Preparers Notice, Declaration, and
                                                                                                      Signature (Official Form 119).




       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.




     X       /s/ Anisa Nazarova
         Signature of Debtor" 1                                               Signature of Debtor 2


         Date   09/22/2021                                                    Date _____               _
                MM/    DD       I   YYYY                                               MM/   DD I   YYYY




  Official Form 106Dec                                           Declaration About an Individual Debtor's Schedules

                                                                                                                  Doc ID: f5cf94c14a1f16096c1dd7d9fe47ce5f1 b062c6b
                                     Case 21-17336-MAM                             Doc 44            Filed 09/22/21              Page 27 of 33


 Fill in this information to identify your case:

                    Anisa Nazarova
 Debtor 1
                                       Mic.IdleName             Lnst Name

 Debtor 2
 (Spouse, if filing)   First Nome        Middle Ntl.mo            LO.SIName



 United States Bankruptcy Court tor the: Southern District of Florida

 Case number
 (if know)
                    21_17336-MAM                                                                                                                                 0   Check if this is
                                                                                                                                                                     an amended
                                                                                                                                                                     filing



 Official Form 107
 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                          4/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is needed, attach
a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


               Give Details About Your Marital Status and Where You Lived Before

 1. What is your current marital status?
   O Married
   0 Not married
 2. During the last 3 years, have you lived anywhere other than where you live now?
   0No
   O Yes. List all of the places you lived in the last 3 years. Do not include where you live now.
 3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community
    property states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and
    Wisconsin.)
   0No
   O Yes. Make sure you fill out Schedule                H: Your Codebtors (Official Form 106H)

■¥fl            Explain the Sources of Your Income

 4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
   Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
   If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

   QNo
   0   Yes. Fill in the details.
                                                                              Debtor 1                                                Debtor 2

                                                                              Sources of income            Gross income               Sources of income          Gross income
                                                                              Check all that apply         (before deductions         Check all that apply       (before deductions
                                                                                                           and exclusions)                                       and exclusions)

          From January 1 of current year until the date
          you filed for bankruptcy:
                                                                              0   Wages,               $ 45,668.22                    0   Wages,             $ __
                                                                              r   commissions,                                        r   commissions,
                                                                                  bonuses, tips                                           bonuses, tips
                                                                              0   Operating a business                                0   Operating a business


          For last calendar year:
                                                                              0   Wages,               $ 98,736.00                    0   Wages,             $ __
          (January 1 to December 31, 2020                                     r   commissions,                                        r   commissions,
                                                                                  bonuses, tips                                           bonuses, tips
                                                                              0   Operating a business                                0   Operating a business


          For the calendar year before that:
                                                                              0   Wages,               $   82,800.00                  0   Wages,             $ __
          (January 1 to December 31, 2019                                     r   commissions,                                        '   commissions,
                                                                                  bonuses, tips                                           bonuses, tips
                                                                              0   Operating a business                                0   Operating a business



Official Form 107                                              Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page l of 7
                                     Case 21-17336-MAM                         Doc 44            Filed 09/22/21                 Page 28 of 33
               Anisa Nazarova                                                                                                       Case number(if known)   21-17336-MAM
Debtor                        M.dlllc Name       Last Name
              First Name



5. Did you receive any other income during this year or the two previous calendar years?
   Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security,
   unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties;
   and gambling and lottery winnings. If you are filing a joint case and you have income U1atyou received together, list it only once under
   Debtor 1.

   List each source and the gross income from each source separately. Do not include income that you listed in line 4.

   □ No
   0     Yes. Fill in the details.
                                         Debtor 1                                                                    Debtor 2

                                         Sources of income                      Gross income from each               Sources of income                 Gross income from each
                                         Describe below.                        source                               Describe below.                   source
                                                                                (before deductions and                                                 (before deductions and
                                                                                exclusions)                                                            exclusions)
  From January 1 of
  current year until the                     Pension                             $2,499.00
  date you filed for
  bankruptcy:
  For last calendar year:
                                             Pension                             $4,055.00
  (January 1 to December
  31, 2020
  For the calendar year
  before that:                               Pension                             $2,909.00

  (January 1 to December
  31, 2019


                List Certain Payments You Made Before You Filed for Bankruptcy

6. Are either Debtor l's or Debtor 2's debts primarily consumer debts?

   0     No. Neither Debtor l nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
             "incurred by an individual primarily for a personal, family, or household purpose."

              During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?

              0     No. Go to line 7.

              O Yes. List below each creditor to whom you paid a total of $6,825* or more in one or more payments and
                    the total amount you paid that creditor. Do not include payments for domestic support obligations, such
                    as child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

              * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

   O Yes.       Debtor l or Debtor 2 or both have primarily consumer debts,
                During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                O No. Go to line 7.
                0   Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                         creditor. Do not include payments for domestic support obligations, such as child support and
                         alimony. Also, do not include payments to an attorney for this bankruptcy case.

7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider? Insiders
   include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
   corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
   agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
   such as child support and alimony.
   0No.
   O Yes. List all payments to an insider.
8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
   insider?
   Include payments on debts guaranteed or cosigned by an insider.

   0No.
   O Yes. list      all payments that benefited an insider.



Olflcial Form 107                                            Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 2 of 7
                                  Case 21-17336-MAM                     Doc 44            Filed 09/22/21                   Page 29 of 33
Debtor       Anisa Nazarova                                                                                                      Case number(ifknown) 21-17336-MAM
            F1rs1Nam!:!   Midd'.cNanic   Last NamL'




             Identify Legal Actions, Repossessions, and Foreclosures

9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
   list all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
   and contract disputes.
  □ No
  0   Yes. Fill in the details.
                                                          Nature of the case                       Court or agency                                    Status of the
                                                                                                                                                      case

   Case title:                                                                                                                                         0   Pending
                                                          Appeal: Date filed: 04/07/2020
   Belkova v PNC Bank, N.A.                                                                       USDC - MDFL Jacksonville                             0   On appeal
   Case number:                                                                                   Court Name
   5:20-cv-143-BJD
                                                                                                                                                       0   Concluded
                                                                                                  300 N Hogan Street
                                                                                                  Number     Street
                                                                                                  Jacksonville FL            32202
                                                                                                  City             State     ZIP Code

   Case title:                                                                                                                                         0   Pending
                                                          Appeal: Date filed: 11/10/2020
   Belkova v. PNC Bank, N.A.                                                                      11th Circuit Court of Appeals Atlanta                0   On appeal
   Case number: 21-10117-DD                                                                       Court Name
                                                                                                                                                       0   Concluded
                                                                                                  56 Forsyth Street, N.W.
                                                                                                  Number     Street
                                                                                                  Atlanta GA          30303
                                                                                                  City     State      ZIP Code


 10.Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and till in the details below.
  0 No. Go to line 11.
  O Yes. Fill in the information below.
 11.Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts
    from your accounts or refuse to make a payment because you owed a debt?
   0No
   O Yes. Fill in the details
 12.Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
    creditors, a court-appointed receiver, a custodian, or another official?

   0No
   QYes

■ @f     W    List Certain Gifts and Contributions

 13.Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

   0No
   0 Yes. Fill in the details tor each gift.
 14.Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
   0No
   O Yes. Fill in the details tor each gift or contribution.

■§•M           List Certain Losses

 15.Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster, or
    gambling?
   0No
   0 Yes. Fill in the details.

■§W            List Certain Payments or Transfers




                                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 3 of 7
Official Form 107
                                      Case 21-17336-MAM                           Doc 44            Filed 09/22/21                 Page 30 of 33
Debtor
                Anisa Nazarova                                                                                                         Case number(ifknown) 21-17336-MAM
                FirstName       Mrddlr?Name        Last Naml!




16.Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
   anyone you consulted about seeking bankruptcy or preparing a bankruptcy petition?
   Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

  QNo
  0   Yes. Fill in the details.
                                                                       Description and value of any property transferred                      Date payment      Amount of
                                                                                                                                              or transfer was   payment
                                                                                                                                              made
                                                                                                                                              09/2021           $ 7,500.00
                                                                       $6,000 fees, $1,500 costs.                                                               $ __
         The Associates
         Person Who was Paid
         2401 PGA Boulevard
         Number        Street
         280M

         West Palm Beach FL                   33410
         City                     Stale       ZIP Cocle
         dlm@theassociates.com
         Email or website address
         Living Trust of Nazarova
         Person Who Made the Payment, if Not You


                                                                       Description and value of any property transferred                      Date payment      Amount of
                                                                                                                                              or transfer was   payment
                                                                                                                                              made
                                                                                                                                              07/2021           $ 14,500.00
                                                                       Pre- and post petition retainers paid.
         Mark Roher                                                                                                                           08/2021           $   2,000.00
         Person Who Was Paid
         1806 N Flamingo Road, Suite 300
         Number        Street
         Pembroke Pines FL                33028
         Cily                    State    ZIP Code


         Email or website address


         Person Who Made the Payment, if Not You



 17.Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
    anyone who promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.
   0No
   O Yes. Fill in the details.
 18.Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than
    property transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property}.
    Do not include gifts and transfers that you have already listed on this statement.

   0No
   0 Yes. Fill in the details.
 19.Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which
    you are a beneficiary?(These are often called asset-protection devices.}
   0 No
   O Yes. Fill in the details.

                  List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

 20.Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
    closed, sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
    brokerage houses, pension funds, cooperatives, associations, and other financial institutions.
   0No
   0 Yes. Fill in the details.

Official Form 107                                               Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 4 of 7
                                    Case 21-17336-MAM                   Doc 44            Filed 09/22/21                 Page 31 of 33
Debtor         Anisa Nazarova                                                                                                Case number(ifknown)21-17336-MAM
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 21.Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
    securities, cash, or other valuables?
    0 No
    O Yes. Fill in the details.
 22.Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy
    0No
    O Yes. Fill in the details.

               Identify Property You Hold or Control for Someone Else

 23.Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
    or hold in trust for someone.
    0No
    O Yes. Fill in the details.

                Give Details About Environmental Information

 For the purpose of Part 10, the following definitions apply:
0
    Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
    hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
    including statutes or regulations controlling the cleanup of these substances, wastes, or material.
0
    Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize
    it or used to own, operate, or utilize it, including disposal sites.
"   Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
    substance, hazardous material, pollutant, contaminant, or similar term.
Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24.Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?
    0No
    O Yes. Fill in the details.
25.Have you notified any governmental unit of any release of hazardous material?
    0No
    O Yes. Fill in the details.
26.Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.
    0No
    0   Yes. Fill in the details.


                Give Details About Your Business or Connections to Any Business

27.Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
        0 A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
        O A member of a limited liability company (LLC) or limited liability partnership (LLP)
        O A partner in a partnership
        0 An officer, director, or managing executive of a corporation
        0 An owner of at least 5% of the voting or equity securities of a corporation
    0   No. None of the above applies. Go to Part 12.
    0   Yes. Check all that apply above and fill in the details below for each business.




Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                               page 5 of 7
                                      Case 21-17336-MAM                       Doc 44            Filed 09/22/21                 Page 32 of 33
Debtor           Anisa Nazarova                                                                                                     Case number(if known)       21-17336-MAM
                Firs1 Name       Mlddl(' Name   Last Name




                                                                       Describe the nature of the business                         Employer Identification number
         Loxahatchee Horse Farms                                                                                                   Do not include Social Security number or
         Business Name                                                                                                             ITIN.
                                                                      Horse Farm (50% owner)
         2251 Buck Ridge Trail
         Nl1mber Street                                                                                                            EIN: 9   3   -   L   7   4    4   8   1   5
         Loxahatchee FL              33470                            Name of accountant or bookkeeper                             Dates business existed
         City                State   ZIP Code
                                                                      Lilia Belvoka                                                From 06/01/1995 To current



28.Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
   institutions, creditors, or other parties.
   0 No. None of the above applies. Go to Part 12.
   O Yes. Check all that apply above and fill in the details below for each business.




Official Form 107                                           Statement of Financial Affairs for Individuals Filing for Bankruptcy                                             page 6 of 7
                                    Case 21-17336-MAM                       Doc 44                Filed 09/22/21                       Page 33 of 33
Debtor         Anisa Nazarova                                                                                                             Case number(if known)   21-17336-MAM
              Fir~, N □mc       Middle Name   LU.SIName




■ijlfj          Sign Below

    I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
    answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud
    in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
    18 U.S.C. §§ 152, 1341, 1519, and 3571.

    X /s/ Anisa Nazarova                                                   X
        Signature of Debtor 1                                                  :::S'.""ig-na-,t-u,-e-o..,.f
                                                                                              :::-De-:b...,.to-r-:2,----------------

         Date 09/22/2021                                                       Date __

    Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

   0No
   O Yes. Name of person                                                                                            Attach the Bankruptcy Petition Preparer's Notice,
                                                                                                                    Declaration. and Signature (Official Form 119).




Official Form 107                                         Statement of Financial Affairs for Individuals Filing for Bankruptcy                                             page 7 of 7
